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15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    PLAINTIFF’S ADMINISTRATIVE
21                                                   MOTION TO CONSIDER WHETHER
                           v.                        ANOTHER PARTY’S MATERIAL
22
                                                     SHOULD BE SEALED PURSUANT TO
      APPLE INC.,                                    CIVIL LOCAL RULE 79-5
23

24                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
       Case 4:20-cv-05640-YGR           Document 1192        Filed 02/10/25     Page 2 of 3




1           Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff Epic Games, Inc. (“Epic”)

2    submits this administrative motion to consider whether another party’s material should be sealed

3    with respect to the Objections to Special Master Determinations Issued February 4, 2025, the

4    Declaration of Yonatan Even (“Even Declaration”) and Exhibit A, all dated February 10, 2025.

5    The documents Epic seeks to temporarily file under seal is listed below:

6
            Document                           Corresponding Page and Line Number(s)
7
            Exhibit A to the Even              Document in its entirety.
8           Declaration

9

10          Epic seeks leave to provisionally file the documents under seal because they discuss

11   materials that Apple has designated confidential under the protective order in this case. See Local

12   Rule 79-5(f). Epic reserves the right to oppose, under Rule 79-5(f)(4), any submission Apple

13   makes to support sealing under Rule 79-5(f)(3). Epic also hereby provides notice of lodging to all

14   parties and their counsel pursuant to Civil Local Rule 79-5(f).

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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                 1          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
      Case 4:20-cv-05640-YGR      Document 1192      Filed 02/10/25     Page 3 of 3




1    Dated: February 10, 2025               Respectfully submitted,
2
                                            By:   /s/ Yonatan Even
3
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S         2          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
